                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


  S.B., a minor student, by and through his parents,
                                                  )
  M.B. and L.H., et al.,                          )
                                                  )
         Plaintiffs,                              )
                                                  )
  v.                                              ) No. 3:21-cv-00317-JRG-DCP
                                                  )
  GOVERNOR BILL LEE, in his official              )
  capacity as GOVERNOR OF TENNESSEE, and          )
  KNOX COUNTY BOARD OF EDUCATION,                 )
                                                  )
         Defendants.                              )
  ______________________________________________________________________________

                DEFENDANT GOVERNOR LEE’S NOTICE OF RELIEF
                            FROM LOCAL RULE 16.4(l)
  ______________________________________________________________________________

          The parties are scheduled to mediate the above-captioned matter on April 18, 2022. Under

  Local Rule 16.4(l), “[u]nless excused by the Mediator in writing, all parties, or party

  representatives . . . shall be present at the Mediation Conference with full authority to negotiate a

  settlement.” Representatives for Governor Lee will be in attendance with authority to negotiate a

  settlement. Pursuant to Tennessee law, including but not limited to Tenn. Code Ann. § 20-13-103,

  any settlement must subsequently be approved by the Tennessee Attorney General, and in certain

  instances, the Governor and Comptroller.         Accordingly, any settlement negotiated by the

  Governor’s representatives at mediation will be subject to subsequent approval by the required

  state authorities.

          Counsel for the Governor has discussed these requirements with the Mediator, who has

  agreed in writing that these terms are sufficient under Local Rule 16.4(l).




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        Respectfully submitted,


                                     HERBERT H. SLATERY III
                                     ATTORNEY GENERAL AND REPORTER

                                     /s/ Reed Smith
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this the 14th day of April, 2022, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
  to all parties indicated on the electronic filing report. Parties may access this filing through the
  Court’s electronic filing system.


                                                  s/ Reed N. Smith
                                                 Reed N. Smith, (VA BN 77334)*
                                                 Assistant Attorney General
                                                 *admitted pro hac vice




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